 8:06-cr-00071-LSC-TDT       Doc # 74   Filed: 09/14/06   Page 1 of 1 - Page ID # 127




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                )
                                         )           8:06CR71
                    Plaintiff,           )
                                         )
       vs.                               )            ORDER
                                         )
MARIO VALENZUELA-CENTENO,                )
                                         )
                    Defendant.           )



       The Motion to Withdraw (Filing No. 73) is scheduled for hearing before the
undersigned magistrate judge at 1:30 p.m. on September 18, 2006, in Courtroom No. 7,
Second Floor, Roman L. Hruska United States Courthouse, 111 South 18th Plaza, Omaha,
Nebraska.
       This being a criminal case, defendant must be present unless otherwise ordered by
the court.
       DATED this 14th day of September, 2006.
                                               BY THE COURT:


                                               s/ Thomas D. Thalken
                                               United States Magistrate Judge
